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                         UN ITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.18-80166-CR M IDDLEBROOKS

UN ITED STA TES OF A M ERICA,
            Plaintiff

VS.

NICHOLAS W UKOSON ,
             Defendantts)
                              /

                        O R DER O N D EFEN D AN T 'S M O TIO N
                            TO W ITHDRAW G UILTY PLEA
      THIS CAUSE com esbeforetheCourtupon theDefendant'sM otion to W ithdraw Plea

(D.E.27). Aflerreviewingthemotion,theGovernment'sresponse(D.E.35)indicating ithasno
objection,and beingfullyadvisedinthepremises,itis
      ORDERED AND ADJUDGED thatDefendant'sMotiontoW ithdraw GuiltyPlea(D.E.
27)isGRANTED. ThesentencinghearingsetforJanuary 11,2019isCANCELLED.
TheDefendant'spleaofguilty ishereby VACATED and thiscasewillbe setfortrialby

separateorder.
      DONE AND ORDERED atW estPalm Beach,Florid            ' 3rdday ofJanuary, 2019.


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                                        D    A LD    .M ID D LEBR OO K S
                                        UNITED STATES DISTRICT JUDGE
      CounselofRecord
      U .S.Probation
